Case 1:16-cv-03784-AI\/|D-RLI\/| Document 7 Filed 08/18/16 Page 1 of 5 Page|D #: 55

IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

 

EVELYN ALVIR,

VS.

Plaintiff,

AETNA LIFE INSURANCE COMPANY OF
HARTFORD a/k/a AETNA LIFE INSURANCE
COMPANY a/k/a AETNA, INC.

Defendants,

 

TO:

United States Distriot Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NeW York 11201

Hon. Ann M. Donnelly

Civil Action No.: 1:l6~cv-03784
(AMD)(RLM)

NoTICE oF voLUNTARY
I)IsMISSAL oF I)EFENDANTS
AETNA LIFE INSURANCE oF
HARTFoRI) a//k/a AETNA
LIFE INSURANCE CoMPANY
a/k/a AETNA, INC. PURSUANT
To FRCP 41(3)(1)

Plaintiff, Evelyn Alvir (“Plaintiff”), hereby gives notice of her voluntary dismissal

Without prejudice of Defendants Aetna Life Insurance Company of Ha.rtford a/k/a Aetna

Life Insurance Company a/l</a Aetna, Inc. (“Defendants”), pursuant to Rule 41(21)(1) of the

Federal Rules of Civil Procedure.

The Defendants have not filed an answer or motion for summary judgment as

of this time. ln support of this Notiee, Plaintiff relies on Rule 41(3)(l) of the F ederal

 

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Rules of Civil Procedure and the attached Declaration of Lester D. Janoff.
Plaintiff states as follows:

l. On June 8, 2016, Plajntiff commenced a civil action against Defendants by
Hling a Summons with Notice in the Supreme Court State of New York, County of Queens,

under Index No.: 706732/2016

2_ The Summons with Notice claimed that Defendants failed to make payment of

benefits under the terms of a Group Health lnsurance Plan issued by Defendants.

3. The Summons with Notice claimed damages in the sum of $250,000.00.
However, Plaintiff has reduced that claim to $49,000.00, and intends to claim that amount
in the complaint which Will be served after the remand of this case to the Supreme Court

of the State of New Yorlt, County of Queens.

4. Defendants have not filed an answer or motion for summary judgment In
addition, this case is not subject to Rules 23(e), 23.l(c), 23.2, and 66, nor any applicable

federal statute 1
5. Consequently, pursuant to Rule 41 (a)(l), this action should be dismissed without

prejudice and without a Court Order by the filing of the Within Notice.

WHEREFORE, for the foregoing reasons, by the filing of the Within Notice,

the within action is dismissed, without prejudice, and remanded to the Supreme

 

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Court of the State of New York, County of Queens.

Respectfully submitted,

Dated: August 18, 2016

 

Melville, New York 11747
631-393-5037/516-595-7403 Fax
Attorney for Plaintiff

Evelyn Alvir

 

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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

 

EVELYN ALVI.R,
Plaintiff, Hon. Ann M. Donnelly
Civil Action No.: l:l 6-cv-03784

<AMD)<RLM)
VS.

AETNA LIFE INSURANCE COMPANY OF
HARTFORD a/k/a AETNA LIFE lNSURANCE CERTIFICA'I`E ()F SERVICE
COMPANY afk/a AETNA, INC.

Defendants,

 

I, Lester D. Janoff`, hereby certify that, on the date set forth below, I caused a
true and correct copy of the following documents submitted on behalf of Plaintiff,
Evelyn Alvir, to be served via electronic filing upon the Clerk of the Um`ted States

District Court for the Eastern District of New York:
¢ Notice of Voluntary Dismissal of Defendants Aetna Life Insurance
Company of Hartford a/k/a Aetna Life Insurance Company a/k/a

Aetna, Inc; and

0 Notice to Clerk of Supreme Court of Voluntary Dismissal of Action
and Remand

¢ This Certificate of Service

 

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l further certify that, on the date set forth below, I caused a true and correct copy

of the aforementioned documents to be served via Federal Express Overnight Mail

upon Defendants’ counsel at the following address:

Patricia A. Lee

CONNELL FOLEY LLP
888 7"‘ Avenue, 9th Floor
New York, NeW York 10106

l certify under penalty of perjury that the foregoing is true and correct

Dated: August 18, 2016

 

 

